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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                       Case No. 20-cv-13134
    Plaintiffs,                             Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
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__________________________________________________________________/

  INTERVENOR DEFENDANT ROBERT DAVIS’ RESPONSE TO
   PLAINTIFFS’ MOTION TO FILE AFFIDAVITS UNDER SEAL
        AND FOR IN CAMERIA REVIEW (ECF NO. 8).

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      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS

 (hereinafter “Intervenor Defendant Davis”), by and through his

 attorney, ANDREW A. PATERSON, and for his Response to Plaintiffs’

 Motion to File Affidavits Under Seal and For In Camera Review (ECF

 No. 8), states the following:


                                 I.    Introduction


      On November 25, 2020, Plaintiffs filed a five-count, 75-page

 complaint against Defendants Governor Gretchen Whitmer, Secretary

 of State Jocelyn Benson and the State Board of Canvassers. (ECF No.

 1). Then on November 27, 2020, without obtaining special leave from

 this Court or permission from the Defendants, Plaintiffs unilaterally

 filed what purports to be an 86-page amended complaint (ECF No. 6).

 On November 30, 2020, Intervenor Defendant Davis filed an emergency

 motion to intervene as a party defendant. (ECF No. 12). On December

 2, 2020, this Court entered an order granting Intervenor Defendant

 Davis’ emergency motion to intervene [12] along with granting the City

 of Detroit’s [5] and the Democratic National Committee’s and Michigan

 Democratic Party’s [14] respective motions to intervene. (See Order,

 ECF No. 28).
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                       II.   Law and Legal Analysis

   A. Plaintiffs Have Not Satisfied The Heavy Burden To Allow
      The Sealing of Witnesses’ Affidavits.

      “Parties desiring to file court papers under seal face a formidable

 task in overcoming the presumption that court filings are open to public

 inspection.” State Farm Mutual Auto. Ins. Co. v. Elite Health Ctr., Inc.,

 2018 WL 3649554, at *2 (E.D. Mich. Aug. 1, 2018) (citing In re Knoxville

 News-Sentinel Co., 723 F.2d 470, 476 (6th Cir. 1983)). “Only the most

 compelling reasons can justify non-disclosure of judicial records.”

 Cristini v. City of Warren, 2011 WL 5304566, at *1 (E.D. Mich. Nov. 3,

 2011) (quoting Nixon v. Warner Commc’ns Inc., 435 U.S. 589, 598

 (1978)). It is well established that this Court, as every other court, “has

 supervisory power over its own records and files.” Nixon, 435 U.S. at

 598. This authority includes fashioning protective orders that limit

 access to certain court documents. See Fed. R. Civ. P. 26(c). But the

 district court’s power to seal records is subject to the “long-established

 legal tradition” of open access to court documents. Brown & Williamson

 Tobacco Corp. v. F.T.C., 710 F.2d 1165, 1177 (6th Cir. 1983).

      As the Sixth Circuit explained in In re Knoxville News-Sentinel Co.,

 Inc., 723 F.2d 470 (6th Cir. 1983), there is a “presumptive right” of public

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 access to court records which permits inspection and copying. The

 recognition of this right of access goes back to the Nineteenth Century,

 when, in Ex Parte Drawbraugh, 2 App. D.C. 404 (1894), the D.C. Circuit

 stated: “Any attempt to maintain secrecy, as to the records of this court,

 would seem to be inconsistent with the common understanding of what

 belongs to a public court of record, to which all persons have the right of

 access.” Id. at 474 (citations omitted); see also Nixon, 435 U.S. at 597

 (“[T]he courts of this country recognize a general right to inspect and copy

 public   records   and    documents,      including   judicial   records   and

 documents”) (footnotes omitted); Brown & Williamson, 710 F.2d at 1180

 (“The public has a strong interest in obtaining the information contained

 in the court record.”).

      There is a strong public policy in favor of public access to judicial

 proceedings. See, e.g. In re Perrigo Co., 128 F.3d 430, 446 (6th Cir. 1997)

 (Moore, J., concurring in part and dissenting in part) (declaring that

 “[s]ealing court records . . . is a drastic step, and only the most compelling

 reasons should ever justify non-disclosure of judicial records”). Certainly,

 this Court has the discretion to limit this access in extraordinary cases,

 but this is not such a case warranting the sealing of witnesses’ affidavits.


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 “[T]rial courts have always been afforded the power to seal their records

 when interests of privacy outweigh the public’s right to know. But . . . the

 decision as to when judicial records should be sealed is left to the sound

 discretion of the district court, subject to appellate review for abuse.”

 Knoxville News-Sentinel, 723 F.2d at 474 (citations omitted).

      In exercising its discretion to seal judicial records, this Court must

 balance the public’s common law right of access against the interests

 favoring nondisclosure. See Nixon, 435 U.S. at 602 (1978) (court must

 consider “relevant facts and circumstances of the particular case”). But

 as noted above, “there is a strong presumption that court files will be

 open to the public,” which may be overcome only “where a party’s

 interest in privacy . . . outweigh[s] the public interest in disclosure.”

 Smith v. SEC, 129 F.3d 356, 359 n.1 (6th Cir. 1997). “Only the most

 compelling reasons can justify non-disclosure of judicial records.” In re

 Knoxville News-Sentinel Co., Inc., 723 F.2d at 476

      However, “even when a party can show a compelling reason why

 certain documents or portions thereof should be sealed, the seal itself

 must be narrowly tailored to serve that reason.” State Farm Mutual

 Auto. Ins. Co., 2018 WL 3649554, at *2 (quoting Shane Group, Inc. v.


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 Blue Cross Blue Shield of Michigan, 825 F.3d 299, 305 (6th Cir. 2016)).

 “The proponent of sealing therefore must ‘analyze in detail, document

 by document, the propriety of secrecy, providing reasons and legal

 citations.’” Id. (quoting Shane Group, Inc., 825 F.3d at 305-06).

       Here, Plaintiffs do not narrowly identify why certain information,

 including the affiants’ identities, should be sealed. (ECF No. 8). Local

 Rule 5.3 governs the applicable procedures for a party seeking to file

 documents under seal. See E.D. Mich. L.R. § 5.3(b). The Rule specifies

 six requirements that the party’s motion to seal “must contain,”

 including an index of the proposed documents to be sealed as well as the

 redacted and unredacted versions of the documents to be sealed. Id. at §

 5.3(b)(3)(A)(i)-(vi). Plaintiffs were also required to present “for each

 proposed sealed exhibit or document, a detailed analysis, with

 supporting evidence and legal citations, demonstrating that the request

 to seal satisfies controlling legal authority.” Id. at § 5.3(b)(3)(A)(iv).

       Plaintiffs have not met the requirements to properly file the three

 affidavits of the witnesses on both procedural and substantive grounds.

 Beyond Plaintiffs’ failure to file the index, redacted, and unredacted

 documents/affidavits, Plaintiffs have also “failed to carry the heavy


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 burden of justifying the wholesale sealing of the numerous [] documents

 that [they] seek[] in this motion.” In re FCA US LLC Monostable Elec.

 Gearshift Litig., 377 F.Supp. 3d 779, 784 (E.D. Mich. 2019), appeal

 dismissed, No. 19-1516, 2019 WL 8688811 (6th Cir. May 15, 2019).

 Plaintiffs assert that the witnesses “are in reasonable fear of

 harassment and threats to their physical safety and their livelihoods in

 retaliation for their coming forward with their testimony. As election

 controversies have unfolded around the country, there have been many

 incidents of harassment and threats to destroy the careers or physically

 harm witnesses who come forward with evidence of election fraud and

 illegality.” (ECF No. 8, PageID.1851). Plaintiffs point to events that

 occurred in other states where similar lawsuits were filed in support of

 President Donald Trump, which according to Plaintiffs, after the

 lawsuits were filed and made public, caused law firms and lawyers to

 withdraw from representing President Trump as a result of purported

 threats and harassment they received. (Id. at PageID. 1852).

      While the Intervenor Defendant Davis acknowledges Plaintiffs’

 concerns, Plaintiffs have not demonstrated with specificity the

 information they seek to protect with the instant motion and the


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 supporting documentation warranting the sealing of the affidavits.

 Fear about the future possibility that witnesses “fear[] harassment[],

 threats and coercion should their identities become public knowledge,”

 is by itself insufficient to warrant sealing certain portions of their

 affidavits in this significant election case. (Id. at PageID.1852). As

 provided in the Court’s Comments to Local Rule 5.3, Plaintiffs’ “burden

 is a heavy one and only the most compelling reasons can justify non-

 disclosure of judicial records.” E.D. Mich. L.R. § 5.3, Cmt. to 2018

 Revisions.

      Plaintiffs have simply failed to meet his heavy burden here.

 Accordingly, the Court should DENY Plaintiffs’ motion to file under seal

 the affidavits of the three witnesses (ECF No. 8). The witnesses

 identities and all other pertinent information contained in their sworn

 affidavits should be made public so that the public can ascertain

 whether their sworn statements are factual and correct.




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                              CONCLUSION

      WHEREFORE, for the foregoing reasons, Intervenor Defendant

 Davis prays that this Honorable Court DENY Plaintiffs’ motion to file

 under seal the affidavits and/or declarations of the three witnesses

 (ECF No. 8).

Dated: December 2, 2020             Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
                                    ANDREW A. PATERSON (P18690)
                                    Attorney for Intervenor Defendant
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                      CERTIFICATE OF SERVICE

       I, ANDREW A. PATERSON, certify that forgoing document(s) was

 filed and served via the Court's electronic case filing and noticing

 system (ECF) this 2nd day of December, 2020, which will automatically

 send notification of such filing to all attorneys and parties of record

 registered electronically.

 Dated: December 2, 2020            Respectfully submitted,

                                    /s/ ANDREW A. PATERSON
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